Case 6.10-mc-00055-_l\/|SS-KRS Document 1 Filed 05/04/10 Page 1 of 3 Page|D 1

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'¢z.AO 451 ‘Rev ill/932 Certit`icalionol`lud§ment

UNITED STATES DISTRICT COURT

DlS'I`RICT OF New Jersey

SUPER 8 WORLDW|DE, lNC., a Soulh Dakola
Corporation, f/k/a SUPER 8 MOTELS, |NC. CERTIFICATION OF JUDGMENT

 

FOR REGISTRATION IN § g
V. ANOTHER DISTRICT o'~',?.§: 5
.’i""!/' § ‘TI
KNR HOTELS, LLC, a F|Orida limited liability ;§'§ -< ¢-
company, K|RAN RACH, an individua|, and 333 }= r"
NAL|N RACH, an individual Case Number: 09-3302 . 3c1
;B--i lT\
:'3`-?1"* g o
WlLLlAM T WALSH BP§ '=f
l, ' ' Clerk ol` the United States di trict co fy the

attachedjudgment is a true and correct copy of` the original judgment entered in this acti

 

appears in the records ot` this court, and that

IN TESTIMONY WHEREOF, l sign my name and af`fix the seal of this Court

d

   

6213/0 /W\LLiAM T. wALSt-i

bmc /(&W
/ /
‘|nserl the appropriate language:

no notice ol" appeal l`rom thisjudgment has been li|ed. and no motion ofany kind listed in Rule 4(a) o|`the l"ederal
Ru|es oprpe||atc Proccdure has been I`i|cd." ...°`no notice ofappcal from this judgment has been liled. and any motions of the kinds listed in Rule 4(.1)
of the l ederal Rulcs of Appi.l|ate Procedttre ( ‘|') have been disposed ol”. the latest order disposing of such a motion having been entered on [date| " .."an
appeal was taken l`rom thisjudgment and the judgment was afl`\mied by mandate of the Court oprpca|s issued on {daie| ..."an appeal was taken liom
this judgment and the appeal was dismissed by order entered on |datc| "

 

(1Noti. |`hc motions listed in Ru|e 4(a). l't.d. R. App. l’.. are motions: forjudgment notwithstanding the verdict; to amend or make additional findings
ol` |`acl; to alter or amend the judgment'. t`or a new trial; and l`or an extension ol`linie for filing a notice o| appeal )

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" Case 2109-cv-03302-JLL -CCC Document 19 Filed 03/01/10 Page 1 of 2

NOT FOR PUBLICATION
UNITED STATES DlSTRlCT COURT
DISTRICT OF NEW JERSEY

 

SUPER 8 WORLDWIDE, INC., Civil Action No.: 09-3302 (JLL)

Plaintiff,
v. ORDER & JUDGMENT
KNR HOTELS, LLC ct al.,

Dcfendants.

 

 

Currently before the Court is PlaintifPs motion for default judgment as to Defendants
Kiran Rach and Nalin Rach (collcctively “Defendants"). The motion is unopposed. This action
was commenced on July 7, 2009. Copies of the Complaint and the summons were served on
Defendants on August 5, 2009. On Novernber 10, 2009, Defendants filed motions to dismiss',
Plaintif’f filed a cross-motion for the entry of default against Defendants. On December l l, 2009,
this Court denied all of the motions and gave Defendants thirty (30) days to answer Plaintift’s
Complaint. Defendants did not file an answer to the Complaint, and on January 15, 2010, the
Clerk entered default against Defendants. The Court has considered Plaintiff`s submission and
the Complaint and, for good cause shown,

lt is on this _L,§f day of March, 2010,

ORDERED that PlaintiFPs motion for default judgment as to Defendants Kiran Rach and
Nalin Rach (CM/ECF No. 18) is GRANTED; and it is further

ORDERED that Judgment is hereby entered against Det`cndants Kiran Rach and Nalin

Rach in favor of Plaintiff in the total amount 0f$232,391.60, which is comprised of the

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following:
° 3213,957.10, recurring fees (principal plus prejudgment interest as of
January 21, 20]0); and
~ $18,434.50, attomeys’ fees and costs;

and it is further

ORDERED that Plaintil`f shall have the right to pursue any additional amounts that
accrue or become due and owing from Kiran Rach and Nalin Rach on or after January 21 , 2010.
.lOS . LINARES,
UN D STATES DISTRICT JUDGE

 

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